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                                                              Case Summary
Case Number: HUD L-002632-20
Case Caption: Bradley Radiah Vs Jersey City Public S Chools
Court: Civil Part                                       Venue: Hudson                                 Case Initiation Date: 07/21/2020
Case Type: Law Against Discrimination (Lad) Cases       Case Status: Active                           Jury Demand: 6 Jurors
Case Track: 3                                           Judge: Joseph V Isabella                      Team: 1
Original Discovery End Date:                            Current Discovery End Date:                   # of DED Extensions: 0
Original Arbitration Date:                              Current Arbitration Date:                     # of Arb Adjournments: 0
Original Trial Date:                                    Current Trial Date:                           # of Trial Date Adjournments: 0
Disposition Date:                                       Case Disposition: Open                        Statewide Lien:

Plaintiffs
Radiah Bradley
Party Description: Individual                                                                         Attorney Name: Ty Hyderally
Address Line 1:                                                    Address Line 2:                    Attorney Bar ID: 023231993

City:                             State: NJ                        Zip: 00000                         Phone:

Attorney Email: TYH@EMPLOYMENTLIT.COM

Defendants
John Does 1-10
Party Description: Fictitious                                                                         Attorney Name:
Address Line 1:                                                    Address Line 2:                    Attorney Bar ID:
City:                             State: NJ                        Zip: 00000                         Phone:
Attorney Email:
Jersey City Public Schools
Party Description: Municipality                                                                       Attorney Name:
Address Line 1:                                                    Address Line 2:                    Attorney Bar ID:
City:                             State: NJ                        Zip: 00000                         Phone:
Attorney Email:
Xyz Corp.1-10
Party Description: Fictitious                                                                         Attorney Name:
Address Line 1:                                                    Address Line 2:                    Attorney Bar ID:
City:                             State: NJ                        Zip: 00000                         Phone:
Attorney Email:
Case Actions
Filed Date        Docket Text                                                                   Transaction ID           Entry Date
                  Complaint with Jury Demand for HUD-L-002632-20 submitted by HYDERALLY, TY ,
07/21/2020        HYDERALLY & ASSOCIATES, P.C. on behalf of RADIAH BRADLEY against JERSEY       LCV20201265487           07/21/2020
                  CITY PUBLIC SCHOOLS, JOHN DOES 1-10, XYZ CORP.1-10
07/22/2020        TRACK ASSIGNMENT Notice submitted by Case Management                          LCV20201266783           07/22/2020
                  CORRECTED: AFFIDAVIT OF SERVICE submitted by HYDERALLY, TY of HYDERALLY
08/06/2020        & ASSOCIATES, P.C. on behalf of RADIAH BRADLEY against JOHN DOES 1-10,        LCV20201361341           08/06/2020
                  JERSEY CITY PUBLIC SCHOOLS, XYZ CORP.1-10
                  CORRECTION: re: [LCV20201361341] AFFIDAVIT OF SERVICE submitted by
                  HYDERALLY, TY of HYDERALLY & ASSOCIATES, P.C. on behalf of RADIAH BRADLEY
08/06/2020                                                                                      LCV20201361822           08/06/2020
                  against JOHN DOES 1-10, JERSEY CITY PUBLIC SCHOOLS, XYZ CORP.1-10 Filing
                  Type has been changed to PROOF OF SERVICE by Case Management Staff
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Ty Hyderally, Esq. (Atty. ID No.: 023231993)
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TELEPHONE (973) 509-8500
FACSIMILE (973) 509-8501
Attorneys for Plaintiff: Radiah Bradley

     RADIAH BRADLEY,                                     SUPERIOR COURT OF NEW JERSEY
                                                         LAW DIVISION: HUDSON COUNTY
     PLAINTIFF,                                                   DOCKET NO.:

     VS.                                                               CIVIL ACTION

     JERSEY CITY PUBLIC SCHOOLS.,                         COMPLAINT AND JURY DEMAND
     JOHN DOES 1-10, AND XYZ CORP.
     1-10,

     DEFENDANTS.

           Plaintiff, Radiah Bradley (“Bradley” or “Plaintiff”), who resides at 34 North 17th Street,
East Orange, New Jersey 07017, by way of this Complaint against Defendants, Jersey City Public
Schools (“JCPS” or “Defendant”), John Does 1-10, and XYZ Corp. 1-10 (hereinafter collectively
“Defendants”) hereby says:


                              I. Nature of Action, Jurisdiction, and Venue


1.         This is an action seeking equitable and legal relief for: (1) a violation of the Family and
           Medical Leave Act, 29 U.S.C. § 2601 et seq. (Retaliation); (2) a violation of the New Jersey
           Law Against Discrimination, N.J.S.A. 10:5-1 et seq. (“LAD”) (Disability Discrimination,
           Perceived); and (3) a violation of the LAD (Retaliation).
2.         This court has jurisdiction due to the nature of the action and the amount in controversy.
           Additionally, Plaintiff has satisfied all prerequisites to bringing these claims.
3.         Venue is appropriate in this court since Plaintiff worked in Hudson County and Defendants
           do business in Hudson County.




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                                            II. Parties


4.     Bradley was a Clerk 3 for JCPS, located at 346 Claremont Avenue, Jersey City, New
       Jersey, 07305.
5.     Bradley was an employee of the Defendant and performed job related duties in the State of
       New Jersey.
6.     During the relevant time period, JOHN DOES 1-10 are currently unknown employees who
       were either senior management level employees who controlled Plaintiff’s workplace, and
       supervised Plaintiff and aided and/or abetted in the commission of conduct complained of
       herein and/or who either acted within the scope of their employment at the workplace
       during working hours, or, to the extent they went beyond the scope of their employment,
       defendants ratified, embraced and added to his conduct. As the parties engage in discovery,
       Plaintiff retains the right to amend the Complaint to add these individual employees by
       name.
7.     During the relevant time period, XYZ Corp. 1-10 are unknown affiliated corporations or
       entities or other corporations who have liability for the claims set forth herein. As the
       parties engage in discovery, Plaintiff retains the right to amend the Complaint to add these
       individual entities by name.
8.     Thus, all defendants are subject to suit under the statutes cited.
9.     At all times referred to in this Complaint, employees of the Corporate Defendants, who are
       referred to herein, were acting within the scope of their employment at the workplace
       during working hours, or, to the extent that they were not so acting, the Corporate
       Defendant ratified, embraced and added to their conduct.


                                      III. Factual Allegations


10.    On or about October 22, 2002, Bradley started working as a Clerk for the Defendant in the
       Special Education Department.
11.    In 2012, Bradley was promoted to Senior Clerk assigned to Julia A. Barnes School/PS12.




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12.    In 2014, Bradley was promoted to Clerk 3 at an annual salary of approximately $62,000
       and was assigned to the Maintenance Department, under the supervision of Kevin O’Reilly
       (“O’Reilly”).
13.    On or about September 2019, Thomas Curtis became Director of Maintenance (“Curtis”)
       and Bradley’s supervisor.
14.    Bradley’s duties included handling billing for vendors, doing payroll approximately twice
       a month for per diem custodial workers, and closing work orders for repairs in all JCPS-
       owned buildings.
15.    Bradley worked Monday to Friday from 9:00 AM to 4:30 PM with a half-hour lunch, for
       a total of 35 hours a week.
16.    In December 2019, Bradley experienced health issues that required time off from work, for
       which she obtained permission from JCPS and used her accrued paid time off (PTO).
17.    Bradley used PTO from December 23, 2019 until the end of 2019 to attend to her health
       issues.
18.    Bradley was unable to return to work on January 2, 2019, as scheduled, and advised Curtis
       as well as Florence Brajczewski, Management Assistant for the Facilities Department
       (“Brajczewski”), of her need for additional time off due to her health condition.
19.    On or around January 6, 2020, Bradley advised Brajczewski over the phone that Bradley
       was scheduled for surgery related to stomach problems on January 13, 2020.
20.    Bradley followed JCPS policies and procedures and requested a medical leave of absence
       (“LOA”) for surgery and recovery thereof. (Exhibit “1”).
21.    Bradley’s physician, Hans Schmidt, M.D. (“Dr. Schmidt”), of Advanced Laparoscopic
       Associates in Paramus, New Jersey, certified Bradley’s period of temporary disability from
       January 2, 2020 through February 10, 2020.
22.    Bradley experienced post-surgical complications which required Dr. Schmidt to extend
       Bradley’s disability leave to March 23, 2020. (Exhibit “2”).
23.    Bradley provided medical documentation to JCPS which included a Disability Certificate
       from Dr. Schmidt with a return to work date of March 23, 2020. (Exhibit “3”).
24.    The Jersey City Board of Education approved the extension of Bradley’s LOA by
       resolution adopted on February 27, 2020. (Exhibit “4”).



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25.    Bradley was removed from payroll and was paid during her LOA by her disability
       insurance carrier, Colonial Insurance Company (“Colonial”).
26.    Bradley returned to work on March 24, 2020, advising Curtis, Brajczewski and Regina
       Robinson, School Business Administrator /Board Secretary (“Robinson”), that she had
       signed into the attendance portal, after which Robinson added Edwin Rivera, Acting
       Director of Human Resources (“Rivera”) to the email thread. (Exhibit “5”).
27.    Bradley asked Brajczewski for her work assignment, to which Brajczewski responded that
       there was nothing for Bradley to do, but that employees logged in to let JCPS know that
       they are available. (Exhibit “6”).
28.    In addition, Bradley emailed Cristina Kliatchko, Supervisor of Payroll (“Kliatchko”),
       advising that she returned to work and asked to be put back on payroll. (Exhibit “7”).
29.    Kliatchko responded that the Facilities Department had to forward a return to work form
       in order for Bradley to be put back on payroll.
30.    Bradley promptly informed Brajczewski of Kliatchko’s request and Brajczewski provided
       the return to work form.
31.    It was imperative that Bradley be put on payroll promptly as Colonial had stopped paying
       Bradley as of March 24, 2020.
32.    Bradley also emailed Rivera and Tracey Stone (“Stone”), Personnel Assistant, Medical
       Department, informing them that she had returned from her leave of absence. (Exhibit “8”).
33.    On March 26, 2020, Brajczewski informed Bradley that she would be paid on March 31,
       2020, as Brajczewski submitted the Return to Work form to Kliatchko. (Exhibit “9”).
34.    On March 27, 2020, Kliatchko informed Bradley that she was overpaid on her last
       paycheck, prior to her LOA, and that five (5) days of pay would be deducted from Bradley’s
       paychecks over the next four (4) pay periods.
35.    From March 24, 2020 through March 31, 2020, Bradley logged into the attendance portal
       daily, as per JCPS policy.
36.    On March 31, 2020, Bradley saw an email from Curtis, that he had sent subsequent to the
       end of her work day on March 30, 2020, asking if Bradley was coming to the office on
       March 31, to do payroll for per diem employees. (Exhibit “10”).
37.    Bradley was surprised at being asked to come to the office during the pandemic, when she
       could perform payroll duties remotely.

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38.    In addition, Bradley was unable to go to the office, as her young daughter’s school was
       closed, due to the pandemic and she was her daughter’s sole caretaker.
39.    On March 31, 2020, Bradley responded to Curtis and copied Robinson, Brajczewski and
       Superintendent Franklin Walker (“Walker”), attaching a March 25, 2020 notice from her
       child’s school district extending the school closure. (Exhibit “11”).
40.    Bradley explained that she was unable to come to the office because she did not have child
       care for her young daughter, but noted that she could perform payroll remotely, as payroll
       is normally done through email.
41.    Robinson took issue with Bradley including the Superintendent in her email, saying she
       was removing him from the email thread “for obvious reasons”, to which Bradley
       responded that she was advised to copy the Superintendent so Bradley would not get into
       any trouble.
42.    Upon information and belief, other employees, such as Tanya Parker (“Parker”) and Ashley
       King (“King”), had also copied the Superintendent on similar emails, saying they could not
       go to the office, because their children’s schools were closed and they did not have
       childcare.
43.    To Robinson’s knowledge, none of these employees were criticized for copying the
       Superintendent.
44.    Robinson also instructed Bradley, on March 31, 2020, to, “Connect to HR before cleared
       to return.”
45.    This directive made no sense as Bradley had already been cleared to return to work by Dr.
       Schmidt, and the Maintenance Department had sent her Return to Work form to the Payroll
       Department.
46.    Further, the request was nonsensical, as Bradley had been logging into the attendance portal
       since March 24, 2020. Further, Defendants were well aware that Bradley had returned to
       work, due to her prior communications with them.
47.    Nevertheless, Bradley complied with Robinson’s instructions and emailed Rivera per
       Robinson’s directive.
48.    Rivera responded that staff returning from leave or extended periods of time off from work
       had to be cleared by Human Resources and that her “current status will remain the same
       until we return to full function as a district”.

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49.    Bradley was taken aback by such response as she had already returned to work from her
       medical leave, as of March 24, 2020.
50.    Bradley asked Rivera if she would get paid as she had been logging into the attendance
       portal since March 24, 2020.
51.    Rivera did not respond to Bradley’s email seeking confirmation that she would get paid.
52.    The following day, Bradley advised Robinson that she was unable to log into the attendance
       portal. (Exhibit “12”).
53.    Robinson merely responded that Rivera would answer Bradley on the matter.
54.    Despite Robinson’s response, Bradley never heard from Rivera.
55.    Thus, Defendants’ precluded Bradley from accessing the attendance portal, subsequent to
       March 31, 2020.
56.    Subsequent to March 31, 2020, Bradley has not received any salary from Defendants.
57.    Bradley reached out to Kliatchko on April 9, 202 and was told that HR had changed
       Bradley to not cleared to return to work. (Exhibit “13”).
58.    Defendants’ actions were clearly retaliatory, due to Plaintiff taking a disability leave and a
       FMLA leave, as Bradley had already been cleared to work and worked from March 24 to
       March 31, 2020.
59.    Bradley took numerous efforts to try to remediate the situation, but to no success. (Exhibits
       “14-18”).
60.    On April 27, 2020, Bradley sent an updated disability certificate to Pawlowski, signed by
       Dr. Schmidt, certifying that Bradley had been cleared to work full duty without restrictions
       since March 23, 2020. (Exhibit “19”).
61.    Bradley was thus fully cleared to return to work and needed no medical clearance to return
       to work.
62.    However, due to Defendants’ retaliatory animus against Bradley, they refused to allow her
       to return to work.
63.    Further, Defendants then informed Bradley that she needed to meet with the worker’s
       compensation medical center, Concentra.
64.    Thus, Defendants perceived Bradley as disabled/suffering from a medical condition that
       precluded her from returning to work, despite the fact that she was fully cleared to return
       to work, no restrictions, by a licensed and qualified medical doctor.

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65.    Bradley asked why she had to go to Concentra and asked to see the JCPS policy related to
       the issue. No answer was given. No policy was provided.
66.    Rather, Defendants maintained their retaliatory and discriminatory action of terminating
       Bradley as of March 31, 2020.
67.    Defendants’ termination of Bradley was clearly not based upon any legitimate reasons, but
       rather, was in retaliation for Bradley taking a medical leave under the FMLA and in
       discrimination for perceiving Bradley as disabled.
68.    Bradley had never been suspended before she was terminated.
69.    Bradley had never been demoted before she was terminated.
70.    Bradley had never been placed on a Performance Improvement Plan before she was
       terminated.
71.    Bradley had never been threatened with termination before she was terminated.
72.    Rather, Bradley performed her work duties in an exemplary fashion and followed
       Defendants’ policies and procedures related to return to work after FMLA/disability leave.
73.    Defendants’ termination of Bradley caused her to suffer severe emotional and physical
       harm as well as exceptional emotional distress, anxiety and sleeplessness.
74.    At the time of her termination, April 1, 2020, Bradley was paid an annual salary of $67,000
       a year.
75.    Bradley’s job benefits included medical, dental and vision insurance, vacation, sick leave,
       holidays and pension.
76.    These benefits of employment, and those set forth below, make up Bradley’s claim for
       damages.
                                           Count I
                                       (FMLA Retaliation)

77.    Plaintiff realleges and incorporates herein the paragraphs set forth in this Complaint.
78.    The foregoing facts and circumstances demonstrate that Defendants have violated the
       Family Medical Leave Act, 29 U.S.C. § 2601 et seq. (the “FMLA”).
79.    Defendants are subject to the FMLA and Plaintiff took a FMLA leave.
80.    Subsequently, Defendants retaliated against Plaintiff and terminated her in retaliation for
       Plaintiff having taken FMLA leave.



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 81.    As a direct and proximate result of the actions of Defendants, Plaintiff has suffered mental
        anguish, physical discomfort, pain and suffering, shame and embarrassment, and/or
        aggravation of a previously existing mental or emotional and physical condition.
        Furthermore, Plaintiff has suffered lost wages, a diminished ability to earn a living, and a
        diminished capacity to enjoy Plaintiff’s life. Moreover, Plaintiff has and/or may have to
        incur expenses for medical, psychiatric, and/or psychological counseling and care.
 82.    Plaintiff’s damages have been experienced in the past, and they will continue into the
        future.
 83.    Plaintiff has been required to retain an attorney to assist Plaintiff in asserting Plaintiff’s
        claims and protecting Plaintiff’s rights.


                                             Count II
                            (New Jersey Law Against Discrimination)
                              (Disability Discrimination; Perceived)

 84.    Plaintiff realleges and incorporates herein the paragraphs set forth in this Complaint.
 85.    The foregoing facts and circumstances demonstrate that Defendants have violated the New
        Jersey Law Against Discrimination, N.J.S.A. 10:5-1 et seq., by discriminating against
        Plaintiff due to perceiving Plaintiff as handicapped and/or disabled.
 86.    As a direct and proximate result of the actions of Defendants, Plaintiff has suffered mental
        anguish, physical discomfort, pain and suffering, shame and embarrassment, emotional
        distress injuries, the physical manifestation of emotional distress injuries and/or physical
        injury. Furthermore, Plaintiff has suffered lost wages, a diminished ability to earn a living,
        and a diminished capacity to enjoy Plaintiff’s life. Moreover, Plaintiff has and/or may have
        to incur expenses for medical, psychiatric, and/or psychological counseling and care.
        Plaintiff’s damages have been experienced in the past, and they will continue into the
        future.
 87.    Further, Plaintiff has been required to retain an attorney to assist Plaintiff in asserting
        Plaintiff’s claims and protecting Plaintiff’s rights.




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                                          Count III
                            (New Jersey Law Against Discrimination)
                                         (Retaliation)

 88.    Plaintiff realleges and incorporates herein the paragraphs set forth in this Complaint.
 89.    The foregoing facts and circumstances demonstrate that Defendants have violated the New
        Jersey Law Against Discrimination, N.J.S.A. 10:5-1 et seq., by retaliating against Plaintiff
        for engaging in the protected activity of taking disability leave and/or medical leave and/or
        requesting reasonable accommodations due to the medical/disability leave.
 90.    As a direct and proximate result of the actions of Defendants, Plaintiff has suffered mental
        anguish, physical discomfort, pain and suffering, shame and embarrassment, emotional
        distress injuries, the physical manifestation of emotional distress injuries and/or physical
        injury. Furthermore, Plaintiff has suffered lost wages, a diminished ability to earn a living,
        and a diminished capacity to enjoy Plaintiff’s life. Moreover, Plaintiff has and/or may have
        to incur expenses for medical, psychiatric, and/or psychological counseling and care.
        Plaintiff’s damages have been experienced in the past, and they will continue into the
        future.
 91.    Further, Plaintiff has been required to retain an attorney to assist Plaintiff in asserting
        Plaintiff’s claims and protecting Plaintiff’s rights.


        WHEREFORE, as to each and every count, Plaintiff demands judgment on each and all
 of these Counts against the Defendants jointly and severally, as follows:

                  A.   Compensatory damages of not less than $200,000;

                  B.   Damages for lost wages and benefits, back pay, front pay (or
                       reinstatement/rehiring);

                  C.   Damages for humiliation, mental and emotional distress;

                  D.   Statutory damages, if applicable;

                  E.   Punitive damages and or liquidated damages where permitted by law;

                  F.   Attorneys' fees and costs of suit;

                  G.   Lawful interest - including pre-judgment interest on lost wages;

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                 H.        Lawful interest - including pre-judgment interest on any wages not paid in
                           a timely manner; and

                 I.        Such other, further and different relief as the Court deems fitting, just and
                           proper.

         Plaintiff hereby reserves the right to amend this Complaint to supplement or modify the
 factual obligations and claims contained herein, based upon information received from the
 Defendants, witnesses, experts, and others in the course of discovery in this matter.

                                     DEMAND FOR TRIAL BY JURY
         Pursuant to Rule 4:35-1(a) and (b), Plaintiff respectfully demands a trial by jury on all
 issues in the within action so triable.

                               DESIGNATION OF TRIAL COUNSEL

         In accordance with Rule 4:25-4, TY HYDERALLY is hereby designated as trial counsel
 on behalf of Plaintiff.

         R. 4:5-1(b)(2) CERTIFICATION OF NO OTHER ACTIONS OR PARTIES

         I hereby certify that the matter in controversy is not the subject of any other action pending
 in any court or of a pending arbitration proceeding, that no other action or arbitration proceeding
 is contemplated, and that there are no other parties known to me at this time who should be joined
 as parties to this action.

              DEMAND FOR PRODUCTION OF INSURANCE AGREEMENTS

         Pursuant to R. 4:10-2(b), demand is hereby made that you disclose to the undersigned
 whether there are any insurance agreements or policies under which any person or firm carrying
 on an insurance business may be liable to satisfy all or part of a judgment which may be entered
 in the action or to indemnify or reimburse for payment made to satisfy the judgment.

         If so, please attach a copy of each, or in the alternative state, under oath and certification:
 (A) policy number; (b) name and address of insurer; (c) inception and expiration date; (d) names
 and addresses of all persons insured thereunder; (e) personal injury limits; (f) property damage
 limits; and (g) medical payment limits.

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 DATED:           July 21, 2020
                                                     HYDERALLY & ASSOCIATES, P.C.
                                                     Attorneys for Plaintiff




                                               By:   __________________________
                                                     TY HYDERALLY, Esq.
                                                     For the Firm




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                    Exhibit “1”
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                    Exhibit “2”
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                    Exhibit “3”
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                    Exhibit “4”
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                    Exhibit “5”
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                     Exhibit “6”
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                     Exhibit “7”
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                     Exhibit “9”
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                   Exhibit “11”
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                   Exhibit “12”
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                   Exhibit “14”
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                   Exhibit “15”
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                   Exhibit “18”
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dŚĂƚǁĂƐŶĞǀĞƌĐŽŵŵƵŶŝĐĂƚĞĚƚŽŵĞ͘DǇĚŽĐƚŽƌĐůĞĂƌĞĚŵĞƚŽƌĞƚƵƌŶƚŽǁŽƌŬĂŶĚ/ĚŝĚƌĞƚƵƌŶƚŽǁŽƌŬ͘/ǁĂƐƚŚĞŶƚŽůĚ
ƚŽŐŽŽƵƚŽŶĂŵĞĚŝĐĂůůĞĂǀĞ͘dŚĞƌĞǁĂƐŶŽƌĞĂƐŽŶŐŝǀĞŶĨŽƌƚŚŝƐĚŝƌĞĐƚŝǀĞ͘tŚĞŶ/ƚƌŝĞĚƚŽĐŽŶƚĂĐƚƚŚĞƌĞůĞǀĂŶƚƉĞŽƉůĞ
ƚŽƵŶĚĞƌƐƚĂŶĚƚŚŝƐ͕/ǁĂƐƚĂŬĞŶŽĨĨƉĂǇƌŽůůĂŶĚĚĞŶŝĞĚĂĐĐĞƐƐƚŽƚŚĞƉŽƌƚĂů͘/ƚŽŽŬƚŚŝƐĂƐĂƚĞƌŵŝŶĂƚŝŽŶ͘

WůĞĂƐĞƉƌŽǀŝĚĞƚŚĞǁƌŝƚƚĞŶƐĐŚŽŽůƉŽůŝĐǇƚŚĂƚƐƵƉƉŽƌƚƐǇŽƵƌƐƚĂƚĞŵĞŶƚƚŚĂƚ/ŵƵƐƚŐŽƚŽŽŶĐĞŶƚƌĂƚŽŽďƚĂŝŶŵĞĚŝĐĂů
ĐůĞĂƌĂŶĐĞĨƌŽŵƚŚĞŽŶĐĞŶƚƌĂĚŽĐƚŽƌ͘

/ǁŽƵůĚĨƵƌƚŚĞƌŶŽƚĞƚŚĂƚ/ĚŝĚƌĞƚƵƌŶƚŽǁŽƌŬĨƌŽŵŵǇůĞĂǀĞ͘^Ž/ǁĂƐŶŽƚŽŶĂůŽŶŐƚĞƌŵůĞĂǀĞǁŚĞŶŵǇƉĂǇǁĂƐ
ƐƚŽƉƉĞĚ͕ĂŶĚ/ǁĂƐƚĞƌŵŝŶĂƚĞĚ͘tŚĞŶ/ĨŝƌƐƚŝŶƚĞƌĂĐƚĞĚǁŝƚŚƚŚĞŽĂƌĚ͕ŶŽŽŶĞƐĂŝĚĂŶǇƚŚŝŶŐĂďŽƵƚŽŶĐĞŶƚƌĂĂŶĚ
ŽŶĐĞŶƚƌĂŶĞǀĞƌĐŽŶƚĂĐƚĞĚŵĞ͘

EŽǁƚŚĂƚ/ŚĂǀĞĂĚǀŝƐĞĚǇŽƵŽĨŵǇůĞŐĂůĐůĂŝŵƐ͕ǇŽƵĂƌĞƐĞŶĚŝŶŐŵĞƚŚŝƐĞŵĂŝů͘



ZĂĚŝĂŚƌĂĚůĞǇ




KŶdŚƵ͕DĂǇϮϭ͕ϮϬϮϬĂƚϭ͗ϮϭWDEKZD&ZEEфŶĨĞƌŶĂŶĚĞǌϮΛũĐďŽĞ͘ŽƌŐхǁƌŽƚĞ͗
 ĞĂƌDƐ͘ƌĂĚůĞǇ͕

 dŚĂŶŬǇŽƵĨŽƌǇŽƵƌĞͲŵĂŝů͘WůĞĂƐĞŶŽƚĞƚŚĂƚǇŽƵƌĞŵƉůŽǇŵĞŶƚǁŝƚŚ:W^ǁĂƐŶĞǀĞƌƚĞƌŵŝŶĂƚĞĚ͘dŚĞŝƐƚƌŝĐƚ
 ĐŽŵŵƵŶŝĐĂƚĞĚƚŽǇŽƵƉƌĞǀŝŽƵƐůǇƚŚĂƚƐŝŶĐĞǇŽƵĂƌĞƌĞƚƵƌŶŝŶŐĨƌŽŵĂůŽŶŐͲƚĞƌŵůĞĂǀĞŽĨĂďƐĞŶĐĞ͕ǇŽƵǁŽƵůĚĨŝƌƐƚŶĞĞĚ
 ƚŽŽďƚĂŝŶŵĞĚŝĐĂůĐůĞĂƌĂŶĐĞĨƌŽŵƚŚĞŽŶĐĞŶƚƌĂĚŽĐƚŽƌ͘dŚĞŝƐƚƌŝĐƚĐŽŶƚĂĐƚĞĚŽŶĐĞŶƚƌĂĂďŽƵƚǇŽƵƌƌĞƚƵƌŶƚŽǁŽƌŬ͕
 ĂŶĚƚŚĞŽŶĐĞŶƚƌĂĚŽĐƚŽƌƌĞƐƉŽŶĚĞĚƚŚĂƚǇŽƵǁŽƵůĚŶĞĞĚƚŽƐĞƚƵƉĂŶĂƉƉŽŝŶƚŵĞŶƚǁŝƚŚƚŚĞŵƚŽďĞĞǀĂůƵĂƚĞĚ͘/ĨǇŽƵ
 ŚĂǀĞĨƵƌƚŚĞƌƋƵĞƐƚŝŽŶƐŽŶƐĞƚƚŝŶŐƵƉǇŽƵƌĂƉƉŽŝŶƚŵĞŶƚǁŝƚŚŽŶĐĞŶƚƌĂ͕ƉůĞĂƐĞĐŽŶƚĂĐƚEƵƌƐĞĞŶŝƐĞWĂǁůŽǁƐŬŝ͘

 ůƐŽ͕ƐŝŶĐĞǇŽƵƐƚĂƚĞĚǇŽƵ͞ĐŽŵƉůĂŝŶĞĚŽĨ͘͘͘ĚŝƐĂďŝůŝƚǇĚŝƐĐƌŝŵŝŶĂƚŝŽŶĂŶĚƌĞƚĂůŝĂƚŝŽŶ͕͟ǇŽƵƌŵĂƚƚĞƌǁŝůůďĞƌĞĨĞƌƌĞĚƚŽƚŚĞ
 ĨĨŝƌŵĂƚŝǀĞĐƚŝŽŶKĨĨŝĐĞƌ͕ƌ͘KůŝǀĞƌͲ,ĂǁůĞǇ͘
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^ŝŶĐĞƌĞůǇ͕
ƌ͘EŽƌŵĂ&ĞƌŶĂŶĚĞǌ
ĞƉƵƚǇ^ƵƉĞƌŝŶƚĞŶĚĞŶƚ

KŶdƵĞ͕DĂǇϭϵ͕ϮϬϮϬĂƚϭϬ͗ϱϭDZ/,Z>zфƌďƌĂĚůĞǇϮΛũĐďŽĞ͘ŽƌŐхǁƌŽƚĞ͗
 ĞĂƌ&ůŽƌĞŶĐĞ͕
 ƐǇŽƵŬŶŽǁ͕/ǁĂƐƌĞƚĂůŝĂƚĞĚĂĨƚĞƌ/ƌĞƚƵƌŶĞĚƚŽǁŽƌŬĨƌŽŵĂ&D>ͬĚŝƐĂďŝůŝƚǇůĞĂǀĞ͘/ŚĂǀĞŵĂĚĞƐĞǀĞƌĂůĐŽŵƉůĂŝŶƚƐ
 ĂďŽƵƚƚŚĂƚ͘DǇƉĂǇǁĂƐƐŚƵƚŽĨĨ͘/ǁĂƐŶŽƚĂůůŽǁĞĚƚŽĐŽŵĞďĂĐŬƚŽǁŽƌŬ͘&ƵƌƚŚĞƌ͕/ǁĂƐŬŝĐŬĞĚŽĨĨƚŚĞĂƚƚĞŶĚĂŶĐĞ
 ƉŽƌƚĂů͘/ǁĂƐƚŽůĚƚŽĐŽŶƚĂĐƚDƌ͘ZŝǀĞƌĂŽĨ,ZĂŶĚĚŝĚƐŽ͘,ŽǁĞǀĞƌ͕ǁŝƚŚĂůůĚƵĞƌĞƐƉĞĐƚ͕/ĨŽƵŶĚŚŝŵƚŽďĞŶŽŶͲ
 ƌĞƐƉŽŶƐŝǀĞĂŶĚŶŽƚŚĞůƉĨƵů͘/ǁĂƐƚŽůĚƚŚĂƚ/ŚĂĚƚŽƌĞŵĂŝŶŽŶĂŵĞĚŝĐĂůůĞĂǀĞ͕ĚĞƐƉŝƚĞƚŚĞĨĂĐƚƚŚĂƚŵǇĚŽĐƚŽƌĐůĞĂƌĞĚ
 ŵĞƚŽƌĞƚƵƌŶƚŽǁŽƌŬĂŶĚƚŚĞďŽĂƌĚƉĂƐƐĞĚŝƚƐƌĞƐŽůƵƚŝŽŶ͘/ĐŽŵƉůĂŝŶĞĚŽĨƚŚŝƐĚŝƐĂďŝůŝƚǇĚŝƐĐƌŝŵŝŶĂƚŝŽŶĂŶĚƌĞƚĂůŝĂƚŝŽŶ
 ĂŶĚǁĂƐƐƚŝůůŶŽƚĂůůŽǁĞĚƚŽƌĞƚƵƌŶƚŽǁŽƌŬ͘dŚŝƐŝƐǁŚǇ/ĨŝůĞĚĨŽƌƵŶĞŵƉůŽǇŵĞŶƚďĞŶĞĨŝƚƐ͘dŚƵƐ͕/ĂŵĂƐƐƵŵŝŶŐƌ͘
 &ĞƌŶĂŶĚĞǌ͛ĚŝƌĞĐƚŝǀĞĚŽĞƐŶŽƚĂƉƉůǇƚŽŵĞĂƐ/ŚĂǀĞďĞĞŶŝůůĞŐĂůůǇƚĞƌŵŝŶĂƚĞĚďǇƚŚĞ:ĞƌƐĞǇŝƚǇŽĂƌĚŽĨĚƵĐĂƚŝŽŶ͘/
 ŚĂǀĞƌĞƚĂŝŶĞĚ,ǇĚĞƌĂůůǇΘƐƐŽĐŝĂƚĞƐ͕W͘͘ƚŽƌĞƉƌĞƐĞŶƚŵĞŐŽŝŶŐĨŽƌǁĂƌĚ͘,ŽǁĞǀĞƌ͕ǇŽƵĐĂŶĐĞƌƚĂŝŶůǇĨĞĞůĨƌĞĞƚŽ
 ƌĞƐƉŽŶĚƚŽŵĞĂďŽƵƚŵǇƌĞƐƉŽŶƐĞƚŽƚŚĞĞŵĂŝů/ŐŽƚǇĞƐƚĞƌĚĂǇ͘


         ^ŝŶĐĞƌĞůǇ͕


         ZĂĚŝĂŚƌĂĚůĞǇ

 ZĂĚŝĂŚƌĂĚůĞǇ͕WƌŝŶĐŝƉĂůůĞƌŬ
 DĂŝŶƚĞŶĂŶĐĞĞƉĂƌƚŵĞŶƚ
 ϯϰϲůĂƌĞŵŽŶƚǀĞŶƵĞ
 :ĞƌƐĞǇŝƚǇ͕EĞǁ:ĞƌƐĞǇϬϳϯϬϱ
 ;ϮϬϭͿϵϭϱͲϲϯϱϮ


 KŶDŽŶ͕DĂǇϭϴ͕ϮϬϮϬĂƚϭ͗ϬϬWD&>KZEZ:t^</фĨďƌĂũĐǌĞǁƐŬŝΛũĐďŽĞ͘ŽƌŐхǁƌŽƚĞ͗
  'ŽŽĚĨƚĞƌŶŽŽŶ͕

  WĞƌƚŚĞĚŝƌĞĐƚŝǀĞƐĞŶƚďǇƌ͘&ĞƌŶĂŶĚĞǌ͕ǁŚŝĐŚŝƐůŝƐƚĞĚďĞůŽǁ͕ĚŵŝŶŝƐƚƌĂƚŽƌƐĂŶĚĐůĞƌŝĐĂůƐƚĂĨĨĂƌĞƌĞƋƵŝƌĞĚƚŽǁŽƌŬ
  ŽŶĞĚĂǇƉĞƌǁĞĞŬ͘dŚĞƵƐŝŶĞƐƐĚŵŝŶŝƐƚƌĂƚŽƌŚĂƐƌĞƋƵĞƐƚĞĚƚŚĞƐĐŚĞĚƵůĞĨŽƌƚŚĞĐůĞƌŝĐĂůƐƚĂĨĨŝŶƚŚĞ
  &ĂĐŝůŝƚŝĞƐͬDĂŝŶƚĞŶĂŶĐĞĞƉĂƌƚŵĞŶƚ͘dŚŝƐŝŶĨŽƌŵĂƚŝŽŶŝƐƌĞƋƵĞƐƚĞĚďǇƚŚĞĐůŽƐĞŽĨďƵƐŝŶĞƐƐƚŽŵŽƌƌŽǁ͕DĂǇϭϵ͕
  ϮϬϮϬ͘WůĞĂƐĞůĞƚŵĞŬŶŽǁƚŚĞĚĂǇǇŽƵĂƌĞĂǀĂŝůĂďůĞ͘/ǁŝůůďĞǁŽƌŬŝŶŐŽŶ&ƌŝĚĂǇƐ͘

  dŚĂŶŬǇŽƵ͕
  &ůŽƌĞŶĐĞ

  ΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎΎ
  ΎΎΎΎΎΎΎΎ

  'ŽŽĚĂĨƚĞƌŶŽŽŶ͕

  ĨƚĞƌůŝƐƚĞŶŝŶŐƚŽƐŽŵĞŽĨǇŽƵƌĐŽŶĐĞƌŶƐDƌ͘tĂůŬĞƌǁŽƵůĚůŝŬĞƚŽŵĂŬĞƚŚĞĨŽůůŽǁŝŶŐĐŚĂŶŐĞƐŽƌĂĚũƵƐƚŵĞŶƚƐƚŽ
  ƚŚĞƉůĂŶĨŽƌǁŽƌŬŝŶŐŽŶͲƐŝƚĞŽŶĞĚĂǇƉĞƌǁĞĞŬ͘

        x    WůĞĂƐĞŶŽƚŝĨǇǇŽƵƌĂĚŵŝŶŝƐƚƌĂƚŽƌƐĂŶĚĐůĞƌŬƐĂƚĞŶƚƌĂůKĨĨŝĐĞƚŚĂƚƚŚĞǇǁŝůůŶĞĞĚƚŽǁŽƌŬŽŶĞĚĂǇƉĞƌ
             ǁĞĞŬ͘
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        x    ĚŵŝŶŝƐƚƌĂƚŽƌƐŵĂǇďĞƐĐŚĞĚƵůĞĚĨƌŽŵDŽŶĚĂǇƚŽ&ƌŝĚĂǇƚŽŽĨĨĞƌƐƉĂĐĞĨŽƌĚŝƐƚĂŶĐŝŶŐ͘
        x    ůĞƌŬƐĂƚĞŶƚƌĂůKĨĨŝĐĞ͕ƐŚŽƵůĚďĞƐĐŚĞĚƵůĞĚĂƐŶĞĞĚĞĚŽŶĞĚĂǇŽŶĂĚĂǇĂŶĂĚŵŝŶŝƐƚƌĂƚŽƌŝƐƉƌĞƐĞŶƚƚŽ
             ĨĂĐŝůŝƚĂƚĞƚŚĞƚĂƐŬƐŝŶƚŚĂƚĚĞƉĂƌƚŵĞŶƚ͘KŶƚŚĞŽĨĨƐŝƚĞĚĂǇƐ͕ĂůůĞŵƉůŽǇĞĞƐǁŝůůĐŽŶƚŝŶƵĞƚŽǁŽƌŬ
             ƌĞŵŽƚĞůǇ͘
        x    hƉŽŶĞŶƚĞƌŝŶŐK͕ĞŵƉůŽǇĞĞƐǁŝůůďĞƐĐƌĞĞŶĞĚďǇƚŚĞŶƵƌƐĞǁŽƌŬŝŶŐƚŚĂƚĚĂǇ͘
        x    ^ĐŚŽŽůͲďĂƐĞĚĞŵƉůŽǇĞĞƐǁŝůůďĞƐĐƌĞĞŶĞĚĂƚƚŚĞŵĞĂůĚŝƐƚƌŝďƵƚŝŽŶƐŝƚĞƐ͘/ĨĂƉĂƌƚŝĐƵůĂƌƐĐŚŽŽůĚŽĞƐŶŽƚ
             ĚŝƐƚƌŝďƵƚĞŵĞĂůƐ͕ƚŚĞǇǁŝůůŶĞĞĚƚŽǀŝƐŝƚƚŚĞŶĞĂƌĞƐƚƐŝƚĞďĞĨŽƌĞƌĞƉŽƌƚŝŶŐƚŽƚŚĞŝƌƐĐŚŽŽůƐ͘;Dƌ͘tĂůŬĞƌ
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  ĂĚũƵƐƚŵĞŶƚ͕ƉůĞĂƐĞĚŽŶŽƚŚĞƐŝƚĂƚĞƚŽůĞƚDƌ͘tĂůŬĞƌŬŶŽǁ͘

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              HUD-L-002632-20 07/21/2020 4:30:59 PM Pg 63 of 63 Trans ID: LCV20201265487
      Case 2:20-cv-12187-JMV-JBC Document 1-1 Filed 09/01/20 Page 76 of 79 PageID: 81

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Case 2:20-cv-12187-JMV-JBC Document 1-1 Filed 09/01/20 Page 77 of 79 PageID: 82




                        Civil Case Information Statement
 Case Details: HUDSON | Civil Part Docket# L-002632-20

Case Caption: BRADLEY RADIAH VS JERSEY CITY                      Case Type: LAW AGAINST DISCRIMINATION (LAD) CASES
PUBLIC S CHOOLS                                                  Document Type: Complaint with Jury Demand
Case Initiation Date: 07/21/2020                                 Jury Demand: YES - 6 JURORS
Attorney Name: TY HYDERALLY                                      Is this a professional malpractice case? NO
Firm Name: HYDERALLY & ASSOCIATES, P.C.                          Related cases pending: NO
Address: 33 PLYMOUTH ST STE 202                                  If yes, list docket numbers:
MONTCLAIR NJ 07042                                               Do you anticipate adding any parties (arising out of same
Phone: 9735098500                                                transaction or occurrence)? NO
Name of Party: PLAINTIFF : Bradley, Radiah
Name of Defendant’s Primary Insurance Company                    Are sexual abuse claims alleged by: Radiah Bradley? NO

(if known): Unknown



      THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE
                      CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




 Do parties have a current, past, or recurrent relationship? YES
 If yes, is that relationship: Employer/Employee
 Does the statute governing this case provide for payment of fees by the losing party? YES
 Use this space to alert the court to any special case characteristics that may warrant individual
 management or accelerated disposition:


 Do you or your client need any disability accommodations? NO
        If yes, please identify the requested accommodation:


 Will an interpreter be needed? NO
          If yes, for what language:


 Please check off each applicable category: Putative Class Action? NO Title 59? NO Consumer Fraud? NO




 I certify that confidential personal identifiers have been redacted from documents now submitted to the
 court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

 07/21/2020                                                                                             /s/ TY HYDERALLY
 Dated                                                                                                             Signed
      HUD-L-002632-20 08/06/2020 3:50:31 PM Pg 1 of 1 Trans ID: LCV20201361341
Case 2:20-cv-12187-JMV-JBC Document 1-1 Filed 09/01/20 Page 78 of 79 PageID: 83
            HUD L 002632-20 07/22/2020 4:13:02 AM Pg 1 of 1 Trans ID: LCV20201266783
      Case 2:20-cv-12187-JMV-JBC Document 1-1 Filed 09/01/20 Page 79 of 79 PageID: 84
HUDSON COUNTY SUPERIOR COURT
HUDSON COUNTY
583 NEWARK AVENUE
JERSEY CITY      NJ 07306
                                              TRACK ASSIGNMENT NOTICE
COURT TELEPHONE NO. (201) 748-4400
COURT HOURS 8:30 AM - 4:30 PM

                              DATE:   JULY 21, 2020
                              RE:     BRADLEY RADIAH VS JERSEY CITY PUBLIC S CHOOLS
                              DOCKET: HUD L -002632 20

      THE ABOVE CASE HAS BEEN ASSIGNED TO:    TRACK 3.

     DISCOVERY IS   450 DAYS AND RUNS FROM THE FIRST ANSWER OR 90 DAYS
FROM SERVICE ON THE FIRST DEFENDANT, WHICHEVER COMES FIRST.

      THE PRETRIAL JUDGE ASSIGNED IS:    HON JOSEPH V. ISABELLA

       IF YOU HAVE ANY QUESTIONS, CONTACT TEAM       001
AT:   (201) 748-4400.

      IF YOU BELIEVE THAT THE TRACK IS INAPPROPRIATE YOU MUST FILE A
 CERTIFICATION OF GOOD CAUSE WITHIN 30 DAYS OF THE FILING OF YOUR PLEADING.
      PLAINTIFF MUST SERVE COPIES OF THIS FORM ON ALL OTHER PARTIES IN ACCORDANCE
WITH R.4:5A-2.
                            ATTENTION:
                                             ATT: TY HYDERALLY
                                             HYDERALLY & ASSOCIATES, P.C.
                                             33 PLYMOUTH ST
                                             STE 202
                                             MONTCLAIR        NJ 07042

ECOURTS
